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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

 SKYLAR WILLIAMS, individually and on
 behalf of all others similarly situated,

          Plaintiff,

 v.                                                     Civil Case No. 1:24-cv-02222

                                                       Hon Lindsay C. Jenkins
 GALDERMA LABORATORIES, L.P.,

          Defendant.




      DEFENDANT GALDERMA LABORATORIES, L.P.’S MOTION TO DISMISS

       PLEASE TAKE NOTICE that Defendant, Galderma Laboratories, L.P. (“Galderma”),

hereby moves to dismiss Plaintiff’s Complaint pursuant to Federal Rule of Civil Procedure

12(b)(6) for failure to state a claim on which relief can be granted, with prejudice. Plaintiff objects

to this Motion. Plaintiff’s response to this Motion is due on or before June 20, 2024, and

Galderma’s reply in support of its Motion is due on or before July 1, 2024.

       Galderma’s Motion is based on this Motion, the accompanying Memorandum of Law, any

reply or supplemental briefing Galderma may submit, and any further evidence or argument

(including oral argument) that the Court may invite Galderma to present in connection with this

Motion.

       WHEREFORE, Galderma respectfully requests that the Court dismiss Plaintiff’s

Complaint with prejudice.




                                               Respectfully submitted,


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                                     ARNOLD & PORTER KAYE SCHOLER LLP

Dated: May 30, 2024                  /s/ Anand Agneshwar
                                     Anand Agneshwar (pro hac vice)
                                     250 West 55th Street
                                     New York, New York 10019
                                     Phone: (212) 836-8011
                                     Facsimile: (212) 836-8689
                                     Email: anand.agneshwar@arnoldporter.com

                                     Valarie Hays
                                     Daniel Raymond
                                     70 West Madison Street, Suite 4200
                                     Chicago, IL 60602-4231
                                     Phone: (312) 583-2300
                                     Facsimile: (312) 583-2360
                                     Email: valarie.hays@arnoldporter.com
                                     Email: daniel.raymond@arnoldporter.com

                                     Paige Sharpe (pro hac vice)
                                     601 Massachusetts Ave, NW
                                     Washington, DC 20001-3743
                                     Phone: (202) 942-5545
                                     Facsimile: (202) 942-5999
                                     Email: paige.sharpe@arnoldporter.com

                                     Attorneys for Defendant
                                     Galderma Laboratories, L.P.
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 30, 2024, the foregoing document was electronically

filed with the Clerk of Court for the Northern District of Illinois through the Court’s CM/ECF

system, which will send a notice of electronic filing to all counsel of record.

Dated: May 30, 2024                                   /s/ Anand Agneshwar
                                                      Anand Agneshwar
